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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA


DAMIAN LABEAUD, ET AL.                                   CIVIL ACTION

VERSUS                                                   NO. 16-322

HERTZ CORPORATION, ET AL.                                SECTION “B”(5)

                                  ORDER

     Considering the Plaintiffs’ “Motion to Dismiss” (Rec. Doc.

No. 14),

     IT IS ORDERED that the motion is GRANTED. Plaintiffs’, Damian

LaBeaud,   Sabrina   Randolph,   and   Jamara   Lewis,   claims   against

Defendants, The Hertz Corporation and Hertz Vehicles, LLC, are

hereby DISMISSED WITH PREJUDICE, each party to bear its own costs.

     New Orleans, Louisiana, this 9th day of June, 2016.




                                          ____________________________
                                          UNITED STATES DISTRICT JUDGE
